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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



AUBREY NOVAK                                       Civil Action NO.
                                                   3:14-cv-00153(AWT)
                     Plaintiff,
       V.



YALE UNIVERSITY




                     Defendant.
                                                         OCTOBER 30, 2015

                              PLAINTIFF'S RESPONSES TO
      DEFENDANT'S FIRST SET OF INTERROGATORIES AND REQUEST FOR
             PRODUCTION OF DOCUMENTS TO THE PLAINTIFF

       Pursuant to the Federal Rules of Civil Procedure, Rules 33 and 34, the

defendant, Yale University ("University"), hereby respectfully requests that the plaintiff,

Aubrey Novak, answer the following interrogatories separately and in writing, under

oath, and produce at the office of Clendenen & Shea, LLC, 400 Orange Street, New

Haven Connecticut, 06511, the following documents within thirty (30) days after the date

of service of this Request:

                                     INSTRUCTIONS

       1.     These requests shall be deemed continuing so as to require supplemental

responses if the plaintiff acquires any additional information or documents between the

time a response Is served and the time of trial.

       2.     In responding to these requests, the plaintiff shall furnish all information

and documents available to her at the time of his response, including Information and/or

documents in the possession, custody or control of each of the plaintiff's agents.
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employees or representatives. These requests also seek non-privileged Information

and documents In the possession, custody or control of the plaintiff's attorneys.

       3.      All terms defined below are used throughout these requests In the precise

manner In which they have been defined and are to be consistently so interpreted.

Some terms are specially defined so as to have a broader meaning herein than they

may have in general usage, and accordingly; responses will be inadequate that do not

take into account the special sense in which terms such as "document," "identify,"

"relating to," and other defined terms are defined and used.

       4.      If you claim that the attorney-client privilege or any other privilege or

protection applies to any documents sought please produce a log containing the

following Information:

       (I)     The type of document or electronically stored Information;

       (ii)    The general subject matter of the document or electronically stored

               information;

       (ill)   The date of the document or electronically stored infomriatlon;

       (Iv)    The author of the document or electronically stored Information; and

       (v)     Each recipient of the document or electronically stored information.




                                       DEFINITIONS

       1.      Document. The term "document" Is defined to be synonymous in

meaning and equal in scope to the usage of this term In Federal Rule of Civil Procedure
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34(a). A draft or non-identical copy is a separate document within the meaning of this

term.


        2.    Communication. The term "communication" means the transmittal of

information (in the form of facts, ideas, inquiries or otherwise).

        3.    Identify a Document. To "identify" or state the "Identity of a document

means to provide, to the extent known, information about the (i) type of document; (li) Its

general subject matter; (iii) the date of the document; (iv) its current location; and (v) its

author(s), addressee(s) and reclpient(s).

        4.    Identify a Natural Person. To "identify" or state the "identity" of a natural

person means to state his or her full name, present or last known home address and

telephone number, and present or last known place of employment. Once a person has

been identified in accordance with this subparagraph, only the name of that person

need be listed in response to subsequent discovery requesting the identification of that

person.


        5.    Person. The term "person" is defined as any natural person or any

business, legal or governmental entity or association.

        6.    YouA^ours. The terms "you" and "your" mean the plaintiff, Aubrey Novak,

and any of her agents, representatives, and all persons acting or purporting to act on

her behalf.

        7.    University/Defendant. The terms "University" and "Defendant" mean

Yale University and its commissioners, employees, agents, representatives and all

persons acting or purporting to act on its behalf.
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         8.    Concerning. The term "concerning" means relating to, referring to,

describing, evidencing or constituting.

         9.    All/Each. The terms "all" and "each" shall both be construed as all and

each.


         10.   And/Or. The connectives "and" and "or" shall be construed either

disjunctively or conjunctively as necessary to bring within the scope of the discovery

request all responses that might othenA/ise be construed to be outside its scope.

         11.   The use of the singular form of any word includes the plural and vice

versa.



         12.   Any. The term "any" shall mean "any and all."

         13.   The tenn "with respect to," "relating to" or "which relates to" a given

subject shall mean any document that constitutes, evidences, contains, embodies,

comprises, reflects, identifies, states, refers to, deals with, comments on, responds to,

describes. Involves or Is in any way pertinent to that subject, including, but not limited to,

documents conceming the presentation of other documents.

         14.   Complaint. The term "Complaint" means the Complaint filed on February

5, 2014, in the above-captioned action.

         15.   The use of the singular form of any word includes the plural and vice

versa, and the use of the past tense includes the present tense and vice versa, as

necessary to bring within the scope of each request for production all responses that

might othenwise be considered outside its scope.

                                      INTERROGATORIES

         1.    State the following:
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              (a)    Your full name and any other name(s) by which you have been

                     known;

              (b)    Your date of birth;

              (c)    Your home address;

              (d)    Your business address; and

              (e)    Your social security number.

RESPONSE:


(a) Kristen Aubrey Novak, aka Aubrey Novak

(b) November 24, 1976

(c) 400 Mansfield Street, #1, New Haven, CT 06511

(d) 344 Winchester Avenue, New Haven, CT 06511

(e) I respectfully decline to submit my SSN for personal privacy and security reasons.




       2.     Identify all individuals with information concerning or relating to your

claims in the Complaint.

RESPONSE:


(a) David Driscoll
257 Lenox Street, New Haven, CT 06513-4017
203-468-6278
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(b) Chris Edwards
31 Linden Street, #2, New Haven, CT, 06511
203-641-7575
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(c) Rebekah Irwin
51 N Pleasant Street, Middlebury, VT 05753
203-513-9733
Middlebury College, Middlebury, VT
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(d) Denise Cusanelli
482 Oak Ave Apt 57, Cheshire, CT 06410-3013
203-376-6046
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(e) Clifford Johnson
214 Mansfield Street, #2, New Haven, CT 06511-3539 203-589-7772
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(f) Maryjane Millington
448 Fountain St New Haven, CT 06515-1801
203-436-8881
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(g) Matthew Beacom
27 Hartley St, North Haven, CT 06473
203-287-0338
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(h) Sarah Schmidt (nee Fisher)
344 Winchester Ave, New Haven, CT 06520
203-432-2975
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(i) Jennifer Meehan
410-739-4425
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(j) Lisa Conathan
203-812-0915
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(k) Diane Turner
55 Chatterton Woods, Hamden, CT 06518
203-248-4901
Yale University, New Haven, CT
(I) Bernadette Gioffi
104 Elizabeth Ann Dr, East Haven, CT 06512
203-467-6415
Yale University, New Haven, CT
(m) E.G. Schroeder
25 Maplewood Dr, Clinton, CT 06413
860-669-0010
Beinecke Rare Book and Manuscript Library, Yale University, New Haven, CT
(n) Brian Kupiec

(o) Raymond Frohlich                                                  k

(p) Lynn leronimo

(q) Renee Mills

(r) Renee Cawley
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(s) Lesley Porter Ferguson

(t) Herbert Johnson

(u) Shelley Gerlak

(v) Frank Beretta

(w) Jennifer Castellon

(x) Stacy Smith

(y) Merieta Bayati

(z) Regina Bejnerowicz (nee Romero)

(aa) Adam Shahrani

(bb) Ralph Mannarino

(cc) Kristy Darby (nee Dixon)

(dd) Susan Gibbons

(ee) John Butler

(ff) Alice Prochaska

(gg) Ellen Doon

(hh) Steve Jones

(ii) IVIoira Fitzgerald

Qj) Kathryn James

(kk) Carol Esposito

(II) Julie Dowe

(mm) Jerzy Graboski

(nn) Dolores Colon

(oo) Mike Rush
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(pp) Gabriela Redwine

(qq) Tasha Dobbin-Bennett

(rr) Brendan Haug

(ss) Audrey Novak

(tt) Anne Marie Menta

(uu) Ingrid Lennon-Pressey

(w) Caroline Hendel

(ww) David Post

(xx) Peter Salovey

(yy) Richard Levin

(zz) Jamaal Thomas

(aaa) Christine Pedevillano

(bbb) Ruth DeAngelo

(ccc) Helen Melanidis

(ddd) Sheri Wilber

(eee) Sheila Sautter

(fff) Jacqueline Sessler

(ggg) Dariene Evans

(hhh) Valarie Stanley

(iii) Michael Peel

Qjj) Kim Zarra

(kkk) Stephanie Spangler

(III) Bridgett LaFountain


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(mmm) Jason Killheffer

(nnn) Andrea Terrillion

(ooo) Marcella Jenkins

(ppp) Donna Cable

(qqq) Amelia Prostano

(rrr) Maureen Jones

(sss) Adam Marchand

(ttt) Elizabeth Breton

(uuu) Laurie Kennington

(wv) Kevin Pacelli

(www) Mary Reynolds

(xxx) Emily Ferrigno

(yyy) onver Schowalter-Hay

(zzz) Mark Firia

(aaaa) Ken Suzuki

(bbbb) Sue Dercole

(cccc) Peter Brano

(dddd) Mamie Hoffmann

(eeee) Ronnell Higgins

(ffff)" Michael Scott

(gggg) Ana Amelia Contrastano

(hhhh) Elisa Nascimento

(iiii) Ivette Silva
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(jjjj) Araceli (Celi) Cruz

(kkkk) Ellen Jaramlllo

(llll) Cesar Rodriguez

(mmmm) Patricia Thurston

(nnnn) Joan Swanekamp

(oooo) Rick Sarcia

(pppp) Tony Oddo

(qqqq) Tatiana Barr

(rrrr) Susan Landino (nee Burhans)




       3.      In Paragraphs 10 and 63 of your Complaint, you alleged that you have

been, and continue to be subjected to a hostile work environment at the University.

With respect to this allegation, please state all facts on which you base this allegation,

including but not limited to the following:

       (a)     Identify all individuals currently or formerly employed by the University
               who were involved in the events that you claim support your allegation that
               you have been, and continue to be subjected to a purported hostile work
               environment at the University;

       (b)     Identify all individuals who witnessed and/or have knowledge of the
               purported hostile work environment at the University;

       (c)     The substance of any and all communication(s) involving and/or relating to
               the purported hostile work environment at the University; and

       (d)     Any and all facts that support your claim that you were subjected to a
               hostile work environment at the University.

RESPONSE:




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(a) See list of individuals as noted above In response to Question 2.

(b) See list of individuals as noted above In response to Question 2.

(c) All of my correspondence Is produced herewith, In my responses to the requests for

production.

(d) With specific regard to Matthew Beacom's treatment toward me once he became

employed as Head of Technical Services at Beinecke Rare Book and Manuscript

Library, I was treated differently by him at first as opposed to my parallel male colleague

Clifford Johnson, regarding numerous events for which I would be reprimanded but not

Mr. Johnson when engaging in the same or other Improper behavior, and then was also

treated significantly differently when a second female parallel colleague, Maryjane

Millington, was made to join our team. Although this female colleague was removed

from her first position at Beinecke due to engaging In improper sexual activities with her

former supervisor's former husband (all working at Beinecke then and currently), David

Driscoll was never given another job elsewhere at the University despite available

options and despite the fact that he engaged In numerous Inappropriate behaviors

towards me, Including stalking, threatening physical and emotional behavior,

intimidation, and lying about Incidents that occurred.

       From the beginning of Mr. Beacom's employment at Beinecke he led a targeted

approach using multiple tactics and events to create misleading information about me

by misrepresenting and othenA/lse lying about Incidents that occurred. Mr. Beacom,

often in complicity with other individuals such as Lynn leronimo, willfully and purposely

used situations to defame my character and reputation with the eventual goal of having




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me terminated or creating such a hostile environment that I would be forced into leaving

my job.



       4.       In Paragraphs 10 and 63 of your Complaint, you alleged that the

University has retaliated against you for your complaints to the University. With respect

to this allegation, please state all facts on which you base this allegation, including but

not limited to the following:

          (a)   A description of each retaliatory action purportedly taken against you;

          (b)   The date on which the purported retaliation occurred;

          (c)   The substance of any and all communication(s) involving and/or relating to
                the alleged retaliation;
       (d)      Identify all individuals currently or formerly employed by the University
                who were involved in the events that you claim support your allegations of
                retaliation; and

       (e)      Identify all individuals who witnessed and/or have knowledge of the
                University's purported retaliatory motivations and/or the events that you
                claim support your allegations of retaliation.

RESPONSE:


  (a) My concems regarding improper treatment by management were routinely either

ignored and /or improperly investigated by Yale University Administrative staff charged

with the proper handling of such complaints.

  (b) I am uncertain as to the specific dates, but I believe that the retaliatory actions

would have taken place at or around the time that I complained about them. My written

correspondence with-the defendant is attached in response to defendant's production

requests.




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  (c) I do not have a present recollection of each retaliatory incident, yet I believe that

each is set forth in my correspondence, as detailed in response (b), above.

  (d)

          Denise Cusanelli

          Patricia Thurston

          Michael Scott


          Enfiily Ferrigno

          Maureen Jones

          Elizabeth Breton

  (e) See list in answer 4 (d) as above.



        5.      In Paragraphs 10 and 63 of your Complaint, you alleged that you have

been sexually harassed. With respect to this allegation, please state all facts on which

you base this allegation, including but not limited to the following:

        (a)   A description of each action of sexual harassment purportedly
              taken against you;

        (b)    The date on which each action of sexual harassment occurred;

        (c)   The substance of any and all communication(s) involving and/or
               relating to the purported sexual harassment;

        (d)    Identify all individuals who witnessed and/or have knowledge of the
               alleged sexual harassment;

        (e)    Identify all individuals currently or formerly employed by the University
               who were involved in the events that you claim support your allegations of
               sexual harassment;

        (f)     Identify all evidence of sexual harassment that you purportedly
                provided to the defendant as alleged in Paragraphs 12 and 30; and



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       (g)    Any and all facts that support your clainn that you were sexually harassed.

RESPONSE:


(a) Between 2008-2010 Mr, Driscoll harassed me yia email and either 3 or 4 phone

messages left on my work voice mail. In May of 2010 I was told by Ms. leronimo that

she witnessed, from beginning to end, an incident that occurred once or twice when Mr.

Driscoll crouched behind an exterior wall and bushes near or on the Beinecke plaza and

after I passed by him unaware of his presence, he followed me at a distance so as to

purposely avoid my noticing him. He then peered in through the windows of the

Handivan I was seated on in a fashion that was also designed to avoid my noticing him,

  (b) I am uncertain as to the specific dates, but I believe that the conduct would have

taken place at or around the time that I complained about them. My written

correspondence with the defendant is attached in response to defendant's production

requests.

  (c) All of my correspondence is produced herewith, in my responses to the requests

for production.

  (d) Lynn leronimo

       Denise Cusanelli


       Rebekah \rw\n

       Chris Edwards

       Diane Turner


       Bernadette Cioffi

       Valarie Stanley

       Amelia Prostano




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  (e) Lynn leronimo

        Denise Cusanelli


        Rebekah Inwin


        Chris Edwards

        Diane Turner


        Valarie Stanley

  (f) Complete emails between myself and Mr. Driscoll, Ms. leronimo's interview by

Ms. Dercole and Mr. Brano was as much an interview of her as it was of me because I

did not witness him stalking me. Ms. leronimo stated to me that she "watched him the

entire time". The only thing I do recall seeing related to her statements is one time Mr.

Driscoll cupping his hands to look into the Handivan behind the row in which I was

seated. When I turned to look after noticing something in my peripheral vision, Mr.

Driscoll suddenly stepped away from the window and began acting as if it was a joke or

a game that he was playing.

  (g) In addition to his frequent inappropriate emails to me, Mr. Driscoll frequently

contacted me and engaged in sexually harassing behavior even after I tried to make it

clear I did not appreciate his advances. I have stated to him that I didn't think his wife

would appreciate the way he was talking to me. His response was "Someday maybe I'll

tell you more about that." I later understood this to mean that he would have explained,

as Ms. leronimo later informed me and claimed he stated to numerous other women
                 fV.-J                                                   .




with whom he engaged in similar sexually harassing conduct, that he did not get along

with his wife because their children were not his, meaning that he believed his wife had

both of their children by a different man but claimed they were Mr. DriscoH's. Mr. Driscoll



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never stated this to me himself. Ms. leronimo informed me that she found out he had

been telling other women on campus this story so as to "gain their sympathies" and that

he probably intended to tell me that as well.



       6.     In Paragraphs 10 and 63 of your Complaint you alleged that you

have been subjected to discrimination. With respect to this allegation, please state all

facts on which you base this allegation, including but not limited to the following:

              (a)    A description of each action of discrimination purportedly taken
                     against you;

              (b)    The date on which each purported discriminatory action occurred;

              (c)    The substance of any and all communication(s) involving and/or
                     relating to any purported discriminatory actions;

              (d)    Identify all individuals currently and/or formerly employed by the
                     University who were involved in the events that you claim support
                     your allegations of discrimination; and

              (e)    Identify all individuals who witnessed and/or have knowledge of the
                     University's purported discriminatory motivations and/or the events
                     that you claim support your allegations of discrimination.

RESPONSE:

  (a) Disparate treatment between myself and Mr. Johnson and Ms. Millington

  (b) I am uncertain as to the specific dates, but I believe that the conduct would have

taken place at or around the time that I complained about them. My written

correspondence with the defendant is attached in response to defendant's production

requests.

  (c) All of my correspondence is produced herewith, in my responses to the requests

for production.



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  (d) Denlse Cusanelli
       Lesley Porter Ferguson
        Maureen Jones
        Ruth DeAngelo
        Patricia Thurston
        Michael Scott
        Emily Ferrigno
        Chris Pedevillano
  (e) Denise Cusanelli
       Lesley Porter Ferguson
        Maureen Jones
        Ruth DeAngelo
        Patricia Thurston
        Michael Scott
        Emily Ferrigno
        Chris Pedevillano
        Susan Landino



      7.     Has any disciplinary action ever been taken against you while you were

employed by the University? If yes, please state as to each instance of disciplinary

action taken against you:

             (a)    The date of the occurrence which gave rise to the disciplinary
                    action;

             (b)    The events which gave rise to the disciplinary action;

             (c)    The disciplinary action taken against you;

             (d)    The date of disciplinary action;

             (e)    Identify each person involved in the occurrence which gave rise to
                    the disciplinary action;

             (f)    The role played by each person involved in the occurrence which
                    gave rise to the disciplinary action; and

             (g)    The disciplinary action taken against each other person
                    involved in the occurrence which gave rise to the disciplinary
                    action.
RESPONSE;




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(a) Multiple attempts by Mr. Beacom almost from his start at Beinecke to the present to

hold me responsible for disciplinary actions, some that failed, two that did not.   I am

unsure of the exact dates, but the three actual warnings are in my personnel file.

  (b) Never before was I cited for raising work-related concerns during work time. This

was a deliberate attempt to build a case against me, however falsified, for termination

through inappropriate means. Prior to, during this time and to the present day I have

consistently pointed out that Ms. Mllllngton frequently shops online and/or browses the

Internet throughout the course of her workday while Ignoring actual work that needs to

be done and doing so with Impunity. Ms. Jones once remarked to me about this

complaint that "You are more honest than most people, Aubrey." Would this have been

me, I would have been cited each and every time the complaint was made, thereby

leading to my termination. It does not seem to matter to anyone that Ms. Mllllngton

engages In this behavior on a daily basis while ignoring the work of the Unit, often then

making It necessary for me to complete work she could perform because Mr. Johnson

has become the purported database expert and often no longer physically catalogs

work but simply rearranges files through the computer.

  (c) First on falsified information ("throwing books and boxes" to "slamming" them to

now just slamming my desk drawers), second due to multiple emails in an attempt to

have the first falsified warning addressed, as promised by Elizabeth Breton.

  (d) I am uncertain as to the specific dates, but they are reflected In the three 3 actual

warnings in my personnel file

  (e) Mr. Beacom
        Mr. Johnson
        Ms. Mllllngton
        Ms. Cioffi


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        Ms. Prostano
        Ms. Breton
  (f) Mr. Beacom -supervisor
        Mr. Johnson -complainant
        Ms. Millington -connplainant
        Ms. Cioffi -Library Human Resources
        Ms. Prostano -Local 34 Union
        Ms. Breton -Local 34 Union
  (g) None to my knowledge.



       8.     In Paragraph 13 of your Complaint you alleged that Ms. leronimo told you

that she had personally witnessed a stalking incident, in which she saw Mr. Driscoll

crouching behind a wall and bushes while watching you and Mr. Driscoll follow you at a

distance, and then peeped in through the windows of the Handivan that you were

seated in. With respect to this allegation, please state all facts on which you base this

allegation, including but not limited to the following:

              (a)    The date of which Ms. leronimo had allegedly told you that she had
                     personally witnessed Mr. Driscoll crouching behind a wall and
                     bushes;

              (b)    The date of which Ms. leronimo had allegedly told you that she had
                     personally witnessed Mr. Driscoll follow you at a distance, and then
                     peep in through the windows of the Handivan that you were seated
                     in;

              (c)    The substance of any and all communications between you and Ms.
                     leronimo that concern Mr. Driscoll;

              (d)    The events which gave rise to the communications between you
                     and Ms. leronimo that are alleged in Paragraph 13;

              (d)    Any and all facts that support your allegations contained in
                     Paragraph 13;

              (e)    Identify all individuals who witnessed and/or have knowledge of your
                     communications with Ms. leronimo that are alleged in Paragraph 13.




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              (f)     The date of which you informed your supervisor, Rebekah Irwin and
                      Chris Edwards of this conduct, and the substance of each
                      communication you had with Ms. Irwin and Mr. Edwards as alleged
                      in Paragraph 14.

RESPONSE:


(a) To the best of my present recollection, on or about May 10, 2010

  (b) same

  (c) Ms. leronimo wanted me to send to her Mr. Driscoll's most offensive emails in the

beginning of her investigation. She then almost immediately told me that she needed to

discuss this issue with Frank Turner, former Director, deceased.

  (d) Ms. leronimo approached me in the Staff Lounge asking me to see her in her

office. When I did she asked if anyone was bothering me. I stated that if she was asking

me that she obviously had infomnation and reason to ask such a question, and that I

didn't mind telling her at that point that Mr. Driscoll, despite my many efforts, had been

harassing me via email and over the phone since a few months after I started at

Beinecke in 2008. She then described to me the stalking incident she witnessed.

  (e) All of my correspondence is produced herewith, in my responses to the requests

for production.

  (f) Rebekah Irwin

       Chris Edwards

       Brian Kupiec

       Denise Cusanelli

       Jennifer Castellon(?)

  (g) to the best of my recollection, on or about May 10, 2010.1 infonned them of the

above-described conversation Ms. leronimo held with me in her office and that she had


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determined that enough evidence existed for her to contact then Director Franl< Turner

as well as Title IX Coordinator Valarie Stanley. See Exhibit E.



       9.     In Paragraphs 24 and 25 of your Complaint, you alleged that (1) you were

told that Mr. Driscoll's computer would be searched; (2) you inquired about the results of

the search of Mr. Driscoll's computer; and (3) you were informed that the computer

search had not, and would not be done without receiving an answer from the defendant

as to why the search was not conducted. Please state all facts on which you base the

foregoing, including but not limited to the following:

              (a)    Identify all individuals who told you that Mr. Driscoll's computer
                     would be searched;

              (b)    The date of which you were told that Mr. Driscoll's computer would
                     be searched;

              (c)    Identify all individuals who you inquired about the result of the
                     search of Mr. Driscoll's computer;

              (d)    The date of which you inquired about the result of the search of Mr.
                     Driscoll's computer;

              (e)    Identify all individuals who informed you that the computer search
                     had not, and would not be done;

              (f)    The date(s) of which you were informed that the computer search
                     had not, and would not be done; and

              (g)    The substance of any and all communications that you had
                     concerning the search of Mr. Driscoll's computer.

RESPONSE:


       (a) Sue Dercole and Peter Brano
       (b) May 28, 2010 during the tape-recorded interview held with the above
              Detectives Dercole and Brano, and Ms. leronimo.
       (c) To the best of my recollection, Ms. leronimo
              Detective Dercole


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               Detective Brano
               Andrea Terrillion
               Donna Cable
              Amelia Prostano
          (d) I do not have a specific recollection of this date.
          (e) To the best of my present recollection, Ms. leronimo
               Detective Dercole
               Detective Brano
               Diane Turner
               Bernadette Cioffi
          (f) I am unsure of this exact date.
          (g) My communications are attached hereto.


       10.     In Paragraph 34 of your Complaint, you alleged that Mr. Driscoll

repeatedly violated the prohibitions without sanctions from the defendant. With respect

to this allegation, please state all facts on which you base this allegation, including but

not limited to the following:

              (a)     A description of each prohibition that you believe Mr. Driscoll was
                      subjected to, including the date that each prohibition went into
                      effect;

              (b)     The substance of any and all communication(s) involving and/or
                      relating to Mr. Driscoll's purported violation of the prohibitions;

              (c)     Any and all facts concerning Mr. Driscoll's purported violations of
                      the prohibitions;

              (d)     The substance of any and all communication(s) involving and/or
                      relating to the University's response, or lack thereof, to Mr.
                      Driscoll's purported violations of the prohibitions;

              (e)     Any and all facts concerning the University's response, or lack
                      thereof, to Mr. Driscoll's purported violations of the prohibitions; and
              (d)     Identify all individuals who witnessed and/or have knowledge of Mr.
                      Driscoirs purported violations of the prohibitions and/or the
                      University's response to the same.

RESPONSE;

       a) To the best of my recollection, Mr. Driscoll was to have no direct contact with
             me, and only to communicate with me about work related issues. These,

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                 and other conditions that I cannot recall at the present, were never
                 enforced by the defendant
             (b) To the best of my recollection, the substance of these communications is
                 set forth in the attached emails on this subject.
             (c) To the best of my recollection, the substance of these communications is
                 set forth in the attached emails on this subject
             (d) To the best of my recollection, the substance of these communications is
                 set forth in the attached emails on this subject
             (e) All of my correspondence is produced herewith, in my responses to the
                 requests for production.
             (f) Rebekah Irwin
                 Chris Edwards
                 Brian Kupiec
                 E.G. Schroeder
                 Matthew Beacom
                 Kristy Darby (nee Dixon)
                 Jennifer Meehan
         Sarah Schmidt (nee Fisher)
                Diane Turner
                 Bernadette Cioffi
                 Stephanie Spangler
                 Donna Cable




       11.     In Paragraph 40 of your Complaint, you alleged that in July, 2011, Mr.

Driscoll engaged in harassing conduct towards you. With respect to this allegation,

please state all facts on which you base this allegation, including but not limited to the

following:

               (a)      A description of each action of harassment purportedly taken
                        against you;

               (b)      The date on which each action of harassment occurred;

               (c)     The substance of any and all communication(s) involving and/or
                     -  relating to the purported harassment;      ^ •

               (d)      identify all individuals who witnessed and/or have knowledge of the
                        alleged harassment;




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                (e)    Identify all individuals currently or formerly employed by the
                       University who took part in the events that you claim support your
                       allegations of harassment; and

                (f)    Any and alj facts that support your claim that Mr. Driscoll engaged
                       in harassing conduct towards you.

RESPONSE;

       a) To the best of my recollection, Mr. Driscoll was to have no direct contact with
             me, and only to communicate with me about work related issues. On this
                occasion and others, he violated those restrictions.
             (b) To the best of my recollection, during July, 2011.
             (c) The substance of these communications is set forth in the attached emails
                 on this subject, as well as in the written correspondence which I have
                attached.
             (d) To the best of my recollection, Driscoll, myself, the University, including
             (e) All of my correspondence is produced herewith, in my responses to the
                 requests for production.
             (f) To the best of my recollection,
                 David Dricoll
                 Jennifer Meehan
                  Sarah Schmidt (nee Fisher)
                  Diane Turner
                  Bernadette Cioffi
                  Christopher Edwards
                  Stephanie Spangler
                  Donna Cable



       12.      In Paragraph 58 of your Complaint, you alleged that on June 12, 2012,

you were subjected to false claims and accusations, and threats to your employment.

With respect to this allegation, please state all facts on which you base this allegation,

including but not limited to the following:

                (a)    Identify all claims, accusations, and threats to your employment
                       that were made on June 12, 2012 and by whom they were allegedly
                       made;

                (b)    The substance of any and all communication(s) involving and/or
                       conceming the alleged false claims, accusations and threats to
                       your employment;



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            (c)   The events which gave rise to the meeting between you, IVIs. Dixon
                  and Mr. Beacom on June 12, 2012;

            (c)   Any and all facts that support your claim that on June 12, 2012, you
                  were subjected to false claims and accusations, and threats to your
                  employment; and

            (d)   Identify all individuals who witnessed and/or have knowledge that
                  you were subjected to false claims, accusations, and threats to your
                  employment on June 12, 2012.

RESPONSE:


            (a)   To the best of my recollection, my work performance and
                  attendance were attacked without justification. I recall that I was
                  threatened with discipline. I believe that this was in retaliation for
                  my complaints about the continued harassment and about the
                  defendant's continued failure to effectively address and prevent
                  such harasssment.

            (b)   The communications involving and/or conceming the false claims,
                  accusations and threats to your employment were made verbally to
                  me, as I recall. To the best of my recollection, I was threatened
                  with punishment related to my \Nork and my alleged attendance
                  issues.


            (c)   The events which gave rise to the meeting between me, Ms. Dixon
                  and Mr. Beacom on June 12, 2012 were my complaints that the
                  harassment by Driscoll was continuing, and that the defendant had
                  failed to stop it, and was continuing to fall to prevent the ongoing
                  harassment.

            (c)   On June 12, 2012,1 was subjected to false claims and accusations,
                  and threats to my employment. The facts in support of this are that
                  there was no truth to the accusations. In conjunction with this is the
                  timing of my complaint and the manner in which the defendant
                  failed to effectively address, and to that date continued to fail to
                  effectively address the harassment. Together, these facts
                  demonstrate that the defendant would rather attack me, the victim,
                  than take on the male aggressor:

                  (d) To the best of my recollection,
                            Matthew Beacom
                         Kristy Darby (nee Dixon)
                         David Dricoll
                            Jennifer Meehan


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                Sarah Schmidt (nee Fisher)
                Diane Turner
                Bernadette Cioffi
                Christopher Edwards
                Stephanie Spangler
                Donna Cable



       13.    Identify all economic damages you claim to have suffered as a result of

the claims alleged in the Complaint, including the amount or value of the alleged

damage, the manner in which you calculated such damage and the identity of each

person who has knowledge of the nature or amount of the claimed damage.

RESPONSE:


       As a result of the conduct of the defendant, in short, my life has been a living hell.

I have been under constant scrutiny by the defendant, have been accused of

wrongdoing and absenteeism, all because I was the victim of sexual harassment at the

defendant, and I have asked for the defendant to address this, and to make my

workplace safe and free of fear, terror and further harassment. Rather than helping me,

the defendant has targeted me for scrutiny, discipline and termination. The outrageous

conduct of the defendant has had a profound effect on my health and well being. I feel

that the hanri that the defendant has subjected me to runs into the millions.

       I hold the defendant responsible for all of work absences related to the stress it

has caused me. I have incurred medical expenses to seek and obtain treatment for the

stress and its physical effects on me. I have had to secure counsel to represent me as

a result of the defendant's conduct.




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       14.    Identify all non-economic damages you claim to have suffered as a result

of the claims alleged in the Complaint, including the amount or value of the alleged

damage, the manner in which you calculated such damage and the identity of each

person who has knowledge of the nature or amount of the claimed damage.

RESPONSE:

       As I have stated, as a result of the conduct of the defendant, in short, my life has

been a living hell. I have been under constant scrutiny by the defendant, have been

accused of wrongdoing and absenteeism, all because I was the victim of sexual

harassment at the defendant, and I have asked for the defendant to address this, and to

make my workplace safe and free of fear, terror and further harassment. Rather than

helping me, the defendant has targeted me for scrutiny, discipline and termination. The

outrageous conduct of the defendant has had a profound effect on my health and well

being. I feel that the harm that the defendant has subjected me to runs into the millions.



       15.    State the name and address of each physician, therapist or other source

of treatment for the conditions or injuries you allege that you sustained as a result of the

incidents alleged in your Complaint, the date(s) of treatment, and the condition(s) for

which you were so treated.

RESPONSE:


       To the best of my recollection:

       Dr. Kathryn Leinhardt: Primary Care Physician, 2008 to present




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Dr. Kathryn White: psychologist, all dates (*additional psychologists/psychiatrists seen

once or twice that I can't recall which led to long term care under Dr. White, any and all

dates)

Dr. Holl: Nutritionist, November 2014-March 2015

Dr. Proctor: Gastroenterology, July 24, 2014

Dr. Machado: neurology, 2008 to present

St. Raphael's/Dr. Burke: emergency care June 15, 2015

Dr. Jermyn: acute care, October 12, 2015

Dr. Aversa


Dr. Robbins


Dr. Fox


         16.    Do you claim to have suffered any other damages, other than those

identified in your responses to Interrogatories Nos. 14 and 15? If so, please identify

each item of damage, the date the damage purportedly occurred, the amount or value

of the alleged damage, the manner in which you calculated the claimed damage, and

the identity of each person who has knowledge of the nature or amount of the claimed

damage.

RESPONSE:

         To the best of my ability, as I sit here today, these are the entire damages that I

have suffered. If I am terminated, my damages will also include all loss of employment

and employment related benefits.




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                           DOCUMENTS TO BE PRODUCED

       1.    Any and all documents in your possession, custody or control that you, or

anyone acting on your behalf, consulted and/or referred to in connection with the

preparation of the answers to the Interrogatories propounded simultaneously herewith,

except for documents protected by a recognized privilege of non-production.

RESPONSE:


      See Attached.




      2.     Any and all documents in your possession, custody or control that

concern, reflect or evidence each and every non-privileged communication you had with

any person relating to the allegations of the Complaint.

RESPONSE:




      See Attached.




      3.     Any and all documents, including but not limited to diary entries, calendars

and records, in your possession, custody or control that concem, relate to and/or

support the allegations of and/or the events alleged in the Complaint.

RESPONSE:

      See Attached.




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       4.     Any and all documents in your possession, custody or control that concern

or relate to any formal or informal complaints and/or objections that you made to the

University to complain about any of the events alleged in your Complaint.

RESPONSE:

       See Attached.




       5.     Any and all documents in your possession, custody or control that concern

or relate to the University's investigation of the events that are alleged in your

Complaint.

RESPONSE:


       See Attached.




       6.     Any and all documents in your possession, custody or control that concern

or relate to the allegations in your Complaint that you have been and continue to be

subjected to a hostile work environment.

RESPONSE:

       See Attached.




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       7.     Any and all documents in your possession, custody or control that concern

or relate to the allegations in your Complaint that you have been sexually harassed.

RESPONSE:

       See Attached.




       8.     Any and all documents in your possession, custody or control that concem

or relate to the allegations in your Complaint that you have been subjected to

discrimination.

RESPONSE:


       See Attached.




       9.     Any and all documents in your possession, custody or control that concern

or relate to the allegations in your Complaint that you have been retaliated against for

your complaints to the defendant.

RESPONSE:

      See Attached.




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       10.    Any and all documents In your possession, custody or control that concern

or relate to your allegation that Ms. leronimo told you that the she had personally seen

Mr. Driscoll crouching behind a wall and bushes while watching you and/or Mr. Driscoll

following you at a distance, and then look through the windows of the Handivan that you

were seated in.

RESPONSE:

              See Attached.




       11.    Any and all docunnents in your possession, custody or control that concern

or relate to your allegation that the Yale Police Department instructed you not to go

either to your Union or to the New Haven Police Department.

RESPONSE:


       See Attached.




       12.    Any and all documents in your possession, custody or control that concern

or relate to your allegation that you were told that Mr. Driscoll's computer would be



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searched and/or when you inquired about the results of the computer search, you were

Informed that it had not and would not be done.

RESPONSE:




             See Attached.




      13.    Any and all documents In your possession, custody or control that have

been identified in your response to No. 7(e) of the Interrogatories propounded

simultaneously herewith.

RESPONSE:


      See Attached.




      14.    Any and all documents in your possession, custody or control that

concern, relate to and/or that have been referenced in your responses to the

Interrogatories propounded simultaneously herewith.

RESPONSE:


      See Attached.




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       15.    Any and all other documents In your possession, custody or control that

are referring or relating to the subject matter of this action which have been furnished to

or reviewed by the plaintiffs attorney(s) in connection with this action, except for

documents protected by a recognized privilege of non-production.

RESPONSE:


       N/A




       16.    Any and all documents in your possession, custody or control that

concern or relate to any disciplinary action that has ever been taken against you while

you were employed by the University.

RESPONSE:


       See Attached.




       17.    Any and all documents in your possession, custody or control that

concern, relate or evidence your claimed damages, including but not limited to your

alleged suffering of extreme anxiety; fear; terror; loss of safety and well-being; severe

emotional distress; financial loss and harm; loss of employment opportunities, loss of

personal and professional reputation; physical, mental and emotional harm and

suffering.

RESPONSE:




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       See Attached.




       18.     Any and all records and reports of all doctors and all other care providers

that concern or relate to treatment allegedly received by you as a result of the events

alleged in your Complaint, and to the emotional conditions from which you claim to

suffer, or to which reference is made in your answers to the Interrogatories.

RESPONSE:


       To be provided. The plaintiff will execute a medical release, should defendant

provide same.



       19.    All documents that you intend to introduce as evidence at trial.

RESPONSE;


       See attached. The plaintiff reserves her right to supplement this response should

further information become available, and reserves her rights pursuant to law and rules

of the Court to disclose trial exhibits.

                                           THE PLAINTIFF




                                     BY:                /SI
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                           CERTIFICATION

      This is to certify that a copy of the foregoing was sent by electronic mail to the

parties listed below, on October 30, 2015.

Pamela LeBlanc
CLENDENEN & SHEA, LLC
400 Orange Street
New Haven, CT 06511




                                                  WILLIAM S. PALMIERI




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